               Case 3:19-cv-02724-SK Document 520 Filed 05/14/24 Page 1 of 2




     LAW OFFICE OF YOLANDA HUANG
 1
     Yolanda Huang, SBN 104543
 2   PO Box 5475
     Oakland, CA 94605
 3   Telephone: (510) 329-2140
     Facsimile: (510) 580-9410
 4
     Email: yhuang.law@gmail.com
 5
     GREENFIRE LAW, PC
 6   Rachel Doughty, SBN 255904
 7   Richard Brody, SBN 100379
     2748 Adeline Street, Suite A
 8   Berkeley, CA 94703
     Telephone: (510) 900-9502
 9   Facsimile: (510) 900-9502
10   Email: rdoughty@greenfirelaw.com
     rbrody@greenfirelaw.com
11
     Attorneys for Plaintiffs
12
13                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
14                              SAN FRANCISCO/OAKLAND DIVISION
15
     MONTRAIL BRACKENS et al, on behalf of          Case No.: 3:19-cv-02724 SK
16   themselves individually and others similarly
     situated, as a class and Subclass,
17
                                Plaintiffs,         DECLARATION OF RACHEL DOUGHTY
18
                     vs.                            IN SUPPORT OF PLAINTIFFS' MOTION
19                                                  FOR ATTORNEYS' FEES (ECF 480-483,
     CITY AND COUNTY OF SAN FRANCISCO.              513-515)
20
                    Defendant.
21
                                                    Date: NA
22                                                  Time: NA
                                                    Dept: Courtroom C, 15th Floor
23
                                                          Federal District Court
24                                                        450 Golden Gate Ave.
                                                          San Francisco, CA
25
                                                    Hon. Sallie Kim, presiding
26
27
28


                                            -1-
                        DECLARATION OF RACHEL DOUGHTY -- 3:19-CV-02724 SK
                  Case 3:19-cv-02724-SK Document 520 Filed 05/14/24 Page 2 of 2




 1           I, Rachel Doughty do declare and state:
 2           1.       If sworn as a witness, I could and would testify to my personal knowledge of the
 3   facts set forth herein.
 4           2.       Exhibit A breaks down the fees requested of this Court by year for each biller in
 5   response to the Order of this Court (ECF 519). I believe these to be accurate based upon the hours
 6   keeping practices represented by each counsel in the declarations supporting Plaintiffs’ fees
 7   motion (ECF 480-483, 513-515).
 8
             I make this declaration under penalty of perjury under the laws of the United States of
 9
     America, executed this 13th day of May, 2023 in Berkeley, California.
10
11
12
                                                           GREENFIRE LAW, PC
13
                                                     By: /s/ Rachel Doughty
14
                                                         RACHEL DOUGHTY
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                             -2-
                         DECLARATION OF RACHEL DOUGHTY -- 3:19-CV-02724 SK
